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                                          United States District Court
                                                   District of Arizona
                                                 Office of the Clerk
          Debra D. Lucas                                                                Michael O'Brien
District Court Executive/Clerk of Court                                                 Chief Deputy Clerk
       Sandra Day O'Connor U.S.                                                  Evo A. DeConcini U.S. Courthouse
         Courthouse, Suite 130                                                  405 W. Congress, Suite 1500 Tucson,
  401 W. Washington Street, SPC 1                                                       Arizona 85701-5010
     Phoenix, Arizona 85003-2118
                                                                                      Shannon Shoulders
                                                                                      Chief Deputy Clerk
                                                                                   Sandra Day O'Connor U.S.
                                                                                     Courthouse, Suite 130
                                                                                401 W. Washington Street, SPC 1
                                                                                  Phoenix, Arizona 85003-2118

          NOTICE TO PRO-SE NON-PRISONER PARTIES REPRESENTING THEMSELVES

      The United States District Court would like to encourage pro se parties to take advantage of
      receiving immediate notice of public documents filed in their cases. Notices of electronic filing
      (NEF) and attached documents for attorney, pro se and court entries would be transmitted
      electronically to a non-prisoner pro se party who selects this option. Note: The pro se party
      would continue to file their documents with the Clerk’s Office in paper form.

      Parties who are entitled to documents as part of their legal proceedings receive one (1) free copy
      by email. You may save or print this document the first time you view it.

      Parties who wish to receive filed documents electronically must have the following:

      •         Personal computer running a standard platform such as Windows or Mac OSX
      •         Internet access (high speed is recommended)
      •         A Web browser (Microsoft Internet Explorer 7.0 or 6.0 or Mozilla Firefox 2 or 1.5)
      •         Adobe Acrobat Reader is needed for viewing e-filed documents

      To request notices of filing electronically, a completed Request by Non-Prisoner Pro Se Party for
      Electronic Noticing form must be submitted to the Clerk’s Office.

      IMPORTANT:

      Messages sent to Yahoo or AOL accounts are frequently found in the spam folder until the court
      is added to your address book.

      You will receive one “free” look of the document. This free look must be viewed within 14
      days. You must only single-click the hyperlink, double-clicking will lose the free look.
      Viewing the document via a smartphone constitutes a free look and smartphone browsers may
      not be fully compatible with ECF. You will have to obtain a copy through PACER and may be
      charged for the copy. Please visit http://www.pacer.gov for billing details.

      As with your mailing address, you must file a notice if your email address changes to ensure
      your noticing is not interrupted. A docket entry detailing undeliverable emails will be entered to
      the case.
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                 REQUEST BY NON-PRISONER PRO SE PARTY
                      FOR ELECTRONIC NOTICING

                          Case Number

This form is to be used when requesting notice of filings be received electronically. The
following information is required:
Personal Information

First Name                                    Middle Name
Last Name                                                           Generation
Address
City                                          State                  Zip Code
Telephone Number
Type of personal computer and related software/equipment required:
      Personal computer running a standard platform such as Windows or Mac OSX
      Internet access (high speed is recommended)
      A Web browser (Microsoft Internet Explorer 7.0 or 6.0 or Mozilla Firefox 2 or 1.5)
      Adobe Acrobat Reader is needed for viewing e-filed documents

E-mail address designated for noticing:

Note: You must promptly notify the Clerk’s Office, in writing, if there is a change in your
      designated e-mail address.

E-mail type:

       □       HTML – Recommended for most e-mail clients

       □       Plain Text – Recommended for e-mail accounts unable to process HTML e-mail

By submitting this request form, the undersigned consents to electronic service and waives the
right to personal service and service by first class mail pursuant to Federal Rule of Civil
Procedure 5(b)(2), except with regard to service of a summons and complaint.
When a filing is entered on the case docket, a party who is registered for electronic noticing will
receive a Notice of Electronic Filing in his/her designated e-mail account. The Notice of
Electronic Filing will allow one free look at the document, and any attached .pdf may be printed
or saved. After the free look viewing, a user must have a PACER account to query documents in
the case. To register for PACER, a user must complete the on-line form or submit a registration
form available on the PACER website http://www.pacer.gov.




Date                          Participant Signature
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Federal Rule 5.2 Civil Privacy Protection For Filings Made with the Court


(a) Redacted Filings. Unless the court orders otherwise, in an electronic or paper filing with the
court that contains an individual’s social-security number, taxpayer-identification number, or
birth date, the name of an individual known to be a minor, or a financial-account number, a party
or nonparty making the filing may include only:
       (1) the last four digits of the social-security number and taxpayer-identification number;

       (2) the year of the individual’s birth;

       (3) the minor’s initials; and

       (4) the last four digits of the financial-account number.

(b) Exemptions from the Redaction Requirement. The redaction requirement does not apply
to the following:
       (1) a financial-account number that identifies the property allegedly subject to forfeiture
       in a forfeiture proceeding;
       (2) the record of an administrative or agency proceeding;

       (3) the official record of a state-court proceeding;

       (4) the record of a court or tribunal, if that record was not subject to the redaction
       requirement when originally filed;
       (5) a filing covered by Rule 5.2(c) or (d); and

       (6) a pro se filing in an action brought under 28 U.S.C. §§ 2241, 2254, or 2255.

(c) Limitations on Remote Access to Electronic Files; Social-Security Appeals and
Immigration Cases. Unless the court orders otherwise, in an action for benefits under the Social
Security Act, and in an action or proceeding relating to an order of removal, to relief from
removal, or to immigration benefits or detention, access to an electronic file is authorized as
follows:
       (1) the parties and their attorneys may have remote electronic access to any part of the
       case file, including the administrative record;
       (2) any other person may have electronic access to the full record at the courthouse, but
       may have remote electronic access only to:
               (A) the docket maintained by the court; and

               (B) an opinion, order, judgment, or other disposition of the court, but not any
               other part of the case file or the administrative record.
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(d) Filings Made Under Seal. The court may order that a filing be made under seal without
redaction. The court may later unseal the filing or order the person who made the filing to file a
redacted version for the public record.

(e) Protective Orders. For good cause, the court may by order in a case:
       (1) require redaction of additional information; or

       (2) limit or prohibit a nonparty’s remote electronic access to a document filed with the
       court.

(f) Option for Additional Unredacted Filing Under Seal.
A person making a redacted filing may also file an unredacted copy under seal. The court must
retain the unredacted copy as part of the record.

(g) Option for Filing a Reference List. A filing that contains redacted information may be filed
together with a reference list that identifies each item of redacted information and specifies an
appropriate identifier that uniquely corresponds to each item listed. The list must be filed under
seal and may be amended as of right. Any reference in the case to a listed identifier will be
construed to refer to the corresponding item of information.

(h) Waiver of Protection of Identifiers. A person waives the protection of Rule 5.2(a) as to the
person’s own information by filing it without redaction and not under seal.
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           Federal Court Advice Only Clinic
                Free Civil Legal Help
          Wish you could talk to an attorney about your federal civil case for free?

         The Volunteer Lawyers Program and the United States District Court for
     the District of Arizona in Phoenix offer to the public a Free Advice Clinic.

           Pro Se (unrepresented) litigants can get an appointment for 30 minutes
    to speak one-on-one with a volunteer attorney about their federal case. See
        below for information about how to schedule an appointment online.

              In order to participate in the Federal Court Advice Only Clinic you
     must be:
                  1) representing yourself (do not have an attorney); and
                  2) involved in or considering filing a CIVIL federal case (a case
                  arising under federal law or a case in which the parties reside in
                  different states and the amount in controversy is $75,000 or
                  more). The clinic cannot provide advice about criminal cases.
     When:
•    The Clinic is held by appointment only, by phone, on the 2nd and 4th
     Thursdays each month.
•    The clinic does not arrange attorneys to represent you in Court.

     Eligibility:
•    The clinic is open to anyone who does NOT have an attorney and has a
     current civil federal court issue, with no income limits.

•    Due to the number of people needing assistance, the Clinic will not be able to
     offer more than 3 appointments per year

               To schedule an appointment, visit the Court’s website at:

                                 www.azd.uscourts.gov

     Click on the link titled “Information for those filing without an attorney” and
     then the link to the Federal Court Advice Only Clinic - Phoenix.
